                   Case 18-12741-LMI             Doc 566        Filed 01/30/19        Page 1 of 9




                                 UNITED STATES BANKRUPTCY COURT
                                  SOUTHERN DISTRICT OF FLORIDA
                                           Miami Division
                                         www.flsb.uscourts.gov

In re:

MIAMI INTERNATIONAL MEDICAL CENTER, LLC1                                           Case No. 18-12741-LMI
d/b/a THE MIAMI MEDICAL CENTER,                                                    Chapter 11

           Debtor.
                                                                        /

          NOTICE OF OCCURRENCE OF EFFECTIVE DATE OF DEBTOR’S FIRST
                    AMENDED LIQUIDATING CHAPTER 11 PLAN

           PLEASE TAKE NOTICE that on January 30, 2019, the Effective Date occurred under

the First Amended Liquidating Chapter 11 Plan, dated December 3, 2018 [ECF No. 469](the

“Plan”), as confirmed pursuant to an order of the Bankruptcy Court dated January 15, 2019 (the

“Confirmation Order”)[ECF No. 557].

           PLEASE TAKE FURTHER NOTICE that any and all provisions of the Plan and the

Confirmation Order are in full force and effect.

           PLEASE TAKE FURTHER NOTICE that the Plan and Confirmation Order are

available for inspection during regular business hours in the office of the Clerk of the

Bankruptcy Court at the C. Clyde Atkins United States Courthouse, 301 North Miami Avenue,

Miami, FL 33128. The Plan, Confirmation Order and related documents are also available at the

Bankruptcy Court’s website at www.flsb.uscourts.gov.                         Please note that a PACER/ECF

password and login are required to access documents on the Bankruptcy Court’s website.




1
    The Debtor’s current mailing address is 5959 NW 7 St, Miami, FL 33126 and its EIN ends 4362.
                                                            1
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                Case 18-12741-LMI             Doc 566        Filed 01/30/19        Page 2 of 9




                                     CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing was served on

January 30, 2019, via the Court's Notice of Electronic Filing upon Registered Users set forth on

the attached Exhibit 1 and served via U.S. regular mail upon the parties listed on the Manual

Service List and Master Service List attached as Composite Exhibit 2.

                                                     s/ Peter D. Russin
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                                                     Attorneys for Debtor-in-Possession




                                                         2
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               Case 18-12741-LMI        Doc 566      Filed 01/30/19     Page 3 of 9




Electronic Mail Notice List                                                        EXHIBIT 1

The following is the list of parties who are currently on the list to receive email notice/service
for this case.

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         Case 18-12741-LMI     Doc 566   Filed 01/30/19   Page 4 of 9




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              Case 18-12741-LMI      Doc 566   Filed 01/30/19   Page 5 of 9




Manual Notice List                                    COMPOSITE EXHIBIT 2

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              Case 18-12741-LMI      Doc 566   Filed 01/30/19    Page 6 of 9




U.S. Trustee: (Notice provided via NEF)        Gregory G. Jackson
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               Case 18-12741-LMI         Doc 566   Filed 01/30/19   Page 7 of 9
                           MASTER SERVICE LIST PER LOCAL RULE 2002-1(H)


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              Case 18-12741-LMI       Doc 566   Filed 01/30/19   Page 8 of 9
                     MASTER SERVICE LIST PER LOCAL RULE 2002-1(H)


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              Case 18-12741-LMI      Doc 566   Filed 01/30/19   Page 9 of 9
                      MASTER SERVICE LIST PER LOCAL RULE 2002-1(H)




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